
56 So.3d 907 (2011)
Hector CAMPOS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-607.
District Court of Appeal of Florida, Fifth District.
March 18, 2011.
Robert Wesley, Public Defender, and Kimberly A. LaSure, Assistant Public Defender, Kissimmee, for Petitioner.
No Appearance for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case numbers 07-CF-002255, 07-CF-002613, 07-CF-002616, and 07-CF-002617, in the Circuit Court in and for *908 Osceola County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
ORFINGER, EVANDER and JACOBUS, JJ., concur.
